Case 1-19-46322 Doci1 Filed 10/22/19 Entered 10/22/19 08:42:40

 

United States Bankruptcy Court for the: i

i

New Yotur
{State}

EASTge 4 District of

Case number (if knowns Chapter 7

Official Form 205

 

involuntary Petition Against a Non-individual

CJ Check if this is an
amended filing

12115

 

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the /nvoluntary Petition Against an individual (Official Form 105}, Be as complete and accurate as possibie. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write dehtor’s name and case number {if

known}.

 

2) identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed

 

+. Chapter of the Check one:

Bankruptcy Code
Chapter 7

i Chapter 11

 

He: identify the Debtor

Debtor’s name

BLoOARCASTING INC.

 

KotZAN Radio

 

Other names you know

 

the debtor has used in
the last 8 years

 

 

Include any assumed
names, trade names, or
doing business as names.

 

Debtor's federal
Employer Identification
Number (EIN}

(2 Unknown

ao DbL SSNS

EIN

 

Principal place of business
Debtor's address pare

Ae
136-56 29  Avenve

Mailing address, if different

 

 

 

 

 

 

 

 

 

 

 

 

Number Street Number Street
P.O. Box
Wevsrhin G NY VWvAgs Y
City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business
GS veens
County Number Street
City State ZIP Code :

 

Official Form 205

Involuntary Petition Against a Non-Individuai

page 1

 
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Debtor

Name

s. Debtor's website (URL)

7 Type of debtor

Yon fan LADO §Ro&d CASTING 1WOC. Case number qrénowes)

ula

(Partnership (excluding LLP}

 

[] Other type of debtor. Specify:

 

 

8. Type of debtor's
business

 

:93. To the best of your

: knowledge, are any
bankruptcy cases
pending by or against
any partner or affiliate
of this debtor?

 

Check one:

C0 Health Care Business (as defined in 14 U.S.C. § 107(27A)}
C] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(3 Raitroad (as defined in 41 U.S.C. § 101(44})

( Stockbroker fas defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in #1 U.S.C. § 101(6)}

O aring Bank (as defined in 11 LLS.C. § 787(3))

Tron of the types of business listed.

CO Unknown type of ousiness.

ef vo
CQ] Yes. debter Relationship

District Date filed Case number, if known.
MME DD Fy yy

 

 

 

40, Venue

. 11. Allegations

. 12. Has there been a

. transfer of any claim
against the debtor by or
to any petitioner?

Official Form 205

Debtor Reiationship
District Date filed Case number, if known
MM /DDAYYYY
Report About the Case
Check one:

Dover the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
business, or principal assets in this district longer than in any other district.

LJ A bankruptcy case concerning debter's affiliates, genera! partner, or partnership is pending in this district.

Each petitioner is eligible to file this petition under #1 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 11 U.S.C, § 303(a}.

At least one box must be checked:

The debtor is generaily not paying its debts as they become due, unless they are the subject of a bona
fide dispute as to liability or amount

A within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
agent appointed or authorized to take charge of less than substantially ail of the property of the
debior for the purpose of enforcing a lien against such praperty, was appointed or took possession.

(J Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
Rule 1003(4).

Involuntary Petition Against a Non-individual page 2

 

 
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Debtor KotfAn taco GADAD C457 WK i ac. Case number itsnown)
Name
+3. Each petitioner's claim “Name of petitioner 8 Nature of petitioner's claim 0 © Amount of the ‘etal
wees Wyo vey Sos wn Se eee Me eee eS “above the value of oo
“any: tien

MourTicuetunar @Adio tok Tue Meni, t otra
A, O6L STH
EAOADCASTING INC, 5

 

 

Total of petitioners’ claims 5 t, ot, P9y oF

If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's name and the case number, if known, at
the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
additional petitioning creditor, the petitioner's claim, the petitioner's representative, and the petitioner's attorney. Include the
statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner's (or representative's) signature,
along with the signature of the petitioner's attorney.

B Request for Relief

 

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 452, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 17 U.S.C. specified in this petition. If a
petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). if any petitioner is a
foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

| have examined the information in this document and have a reasonable belief that the information is true and correct.

. . Petitioners or Petitioners’ Representative \ Attorneys”

 

 

Name and mailing address of petitioner

MuLTLCULTUMAL AADLO G ADADCLS TING, UNC, Pougceas T. Oreck, 5 e.

Name Printed name

“io EXCHANGE DPrac€ pVITE tole Pre 4 ZAE ile Lv?

Firm name, if any
Number Street

 

 

 

264 Lee inoton ave. 2 eigen

 

 

 

New ott py tooos
ity State ZIP Code Number Street
Mew Tork ai‘z toot?
City State ZIP Code

Name and mailing address of petitioner's representative, if any

 

Contact ohonel Wt ) 9 I™ bem _D Peck e PickiAw WET

Bar number i TH 2796

 

Name

 

Number Street

 

City State ZIP Code

  
    

| declare under penalty of perjury that the foregoing is true and correct. .

Executed on
MM /DD/YYYY

 

 

x

Signature of petitioner or representative, including representative's title '
MM of OD yyy

 

 

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